                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         MIDDLE DIVISION


 JOANNA SEGUNDO and
 PHILLIP SEGUNDO, individually and as
 next friends and parents of
 GRACIELLA SEGUNDO,
                                                              Docket No. 3:23-cv-00260
               Plaintiffs,                                    JURY DEMAND

 v.

 JOSHUA STEPHEN,

               Defendant.


                                   ANSWER TO COMPLAINT


         COMES NOW Joshua Stephen, by and through counsel, and to Answer the Complaint

filed against him would state and show unto the Court, as follows:

                                        FIRST DEFENSE

         Defendant responds to the allegations contained in the numbered paragraphs of Plaintiffs’

Complaint, as follows:

         1.     The allegations contained in numbered paragraph 1 of Plaintiffs’ Complaint are

admitted upon information and belief.

         2.     In response to the allegations contained in numbered paragraph 2 of Plaintiffs’

Complaint, Defendant resides at 1037 Katy Lane, Longmont, Colorado 80504 and has received

service of the Complaint. All remaining allegations are denied.

         3.     The allegations contained in numbered paragraph 3 of Plaintiffs’ Complaint are

admitted.

         4.     The allegations contained in numbered paragraph 4 of Plaintiffs’ Complaint are

admitted.




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       5.      The allegations contained in numbered paragraph 5 of Plaintiffs’ Complaint are

admitted.

       6.      The allegations contained in numbered paragraph 6 of Plaintiffs’ Complaint are

denied.

       7.      In response to the allegations contained in numbered paragraph 7 of Plaintiffs’

Complaint, Defendant admits the front end of his motor vehicle made contact with the rear of

Plaintiff Graciella Segundo’s motor vehicle. All remaining allegations contained in numbered

paragraph 7 of Plaintiffs’ Complaint are denied.

       8.      The allegations contained in numbered paragraph 8 of Plaintiffs’ Complaint are

admitted to the extent that Plaintiff observed a bent bumper on Ms. Segundo’s 2013 Ford Raptor

after the subject accident. Any remaining allegations contained in numbered paragraph 8 of

Plaintiffs’ Complaint are denied.

       9.      The allegations contained in numbered paragraph 9 of Plaintiffs’ Complaint are

denied.

       10.     In response to the allegations contained in numbered paragraph 10 of Plaintiffs’

Complaint, Defendant is without sufficient knowledge or information to form a belief as to the truth

of whether Plaintiff sustained injuries, damages, or losses, if any, and demands strict, competent,

and admissible proof thereof. Any remaining allegations contained in numbered paragraph 10 of

Plaintiffs’ Complaint are denied.

       11.     In response to the allegations contained in numbered paragraph 11 of Plaintiffs’

Complaint, Defendant is without sufficient knowledge or information to form a belief as to the truth

of whether Plaintiff sustained injuries, medical expenses, damages, or losses, if any, and

demands strict, competent, and admissible proof thereof. Any remaining allegations contained in

numbered paragraph 11 of Plaintiffs’ Complaint are denied.




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       12.     In response to the allegations contained in numbered paragraph 12 of Plaintiffs’

Complaint, Defendant admits he had a duty to keep proper control of the motor vehicle. Any

remaining allegations contained in paragraph 12 of Plaintiffs’ Complaint are denied.

       13.     In response to the allegations contained in numbered paragraph 13 of Plaintiffs’

Complaint, Defendant admits fault for the accident. Any remaining allegations contained in

numbered paragraph 13 of Plaintiffs’ Complaint are denied.

       14.     In response to the allegations contained in numbered paragraph 14 of Plaintiffs’

Complaint, Defendant admits he had a duty to maintain a safe lookout. Any remaining

allegations contained in paragraph 14 of Plaintiffs’ Complaint are denied.

       15.     In response to the allegations contained in numbered paragraph 15 of Plaintiffs’

Complaint, Defendant admits fault for the accident. Any remaining allegations contained in

numbered paragraph 15 of Plaintiffs’ Complaint are denied.

       16.     In response to the allegations contained in numbered paragraph 16 of Plaintiffs’

Complaint, Defendant admits he had a duty to not follow another vehicle more closely than is

reasonable and prudent. Any remaining allegations contained in numbered paragraph 16 of

Plaintiffs’ Complaint are denied

       17.     In response to the allegations contained in numbered paragraph 17 of Plaintiffs’

Complaint, Defendant admits fault for the accident. Any remaining allegations contained in

numbered paragraph 17 of Plaintiffs’ Complaint are denied.

       18.     In response to the allegations contained in numbered paragraph 18 of Plaintiffs’

Complaint, Defendant admits he had a duty to exercise due. Any remaining allegations contained

in numbered paragraph 18 of Plaintiffs’ Complaint are denied

       19.     The allegations contained in numbered paragraph 19 of Plaintiffs’ Complaint are

admitted.




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       20.     In response to the allegations contained in numbered paragraph 20 of Plaintiffs’

Complaint, Defendant admits fault for the accident. Any remaining allegations contained in

numbered paragraph 20 of Plaintiffs’ Complaint are denied.

       21.     The allegations contained in numbered paragraph 21 of Plaintiffs’ Complaint are

admitted.

       22.     The allegations contained in numbered paragraph 22 of Plaintiffs’ Complaint,

including subparagraphs (a) through (f), are denied.

       23.     The allegations contained in numbered paragraph 23 of Plaintiffs’ Complaint,

including subparagraphs (a) through (c), are denied.

       24.     In response to the allegations contained in numbered paragraph 24 of Plaintiffs’

Complaint, Defendant is without sufficient knowledge or information to form a belief as to the truth

of whether Plaintiff sustained injuries, damages, or losses, if any, and demands strict, competent,

and admissible proof thereof. Any remaining allegations contained in numbered paragraph 24 of

Plaintiffs’ Complaint are denied.

       25.     In response to the allegations contained in numbered paragraph 25 of Plaintiffs’

Complaint, Defendant is without sufficient knowledge or information to form a belief as to the truth

of whether Plaintiff sustained injuries, damages, or losses, if any, and demands strict, competent,

and admissible proof thereof. Any remaining allegations contained in numbered paragraph 25 of

Plaintiffs’ Complaint are denied.

       26.     In response to the allegations contained in numbered paragraph 26 of Plaintiffs’

Complaint, Defendant is without sufficient knowledge or information to form a belief as to the truth

of whether Plaintiff has become liable for certain medical expenses or whether Plaintiff sustained

injuries, and Defendant demands strict, competent, and admissible proof thereof. Any remaining

allegations contained in numbered paragraph 26 of Plaintiffs’ Complaint are denied.

       27.     The allegations contained in numbered paragraph 27 of Plaintiffs’ Complaint are

denied.



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       28.     The allegations contained in numbered paragraph 28 of Plaintiffs’ Complaint are

denied.

       In response to Plaintiffs’ prayers for relief, Defendant would state that Plaintiffs are not

entitled to relief from this Defendant.

       Defendant demands a jury of twelve (12) to try this cause.

       Any allegations contained in Plaintiffs’ Complaint not herein admitted, denied, or

controverted, are hereby denied and strict proof demanded thereof.

       WHEREFORE, having fully answered, Defendant demands the cause of action asserted

against him be dismissed and all costs assessed to Plaintiffs.




                                             Respectfully submitted,

                                             RAINEY, KIZER, REVIERE & BELL, P.L.C.


                                             By:    /s/ Nathan E. Shelby _________________
                                                    NATHAN E. SHELBY (BPR No. 026583)
                                                    GRACE BENITONE (BPR No. 040650)
                                                    Attorneys for Defendant
                                                    201 Fourth Avenue North
                                                    Suite 1850
                                                    Nashville, TN 37219
                                                    (615) 613-0442
                                                    nshelby@raineykizer.com
                                                    gbenitone@raineykizer.com




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                                    CERTIFICATE OF SERVICE

          The undersigned certifies that a copy of the foregoing was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated on
the electronic filing report. All other parties will be served by mailing postage prepaid or by email.
Parties may access this filing through the Court’s electronic filing system.


        Craig P. Glenn (BPR No. 031439)
        GRIFFITH LAW, PLLC
        Attorney for Plaintiffs
        256 Seaboard Lane, Suite E-106
        Franklin, TN 37067
        (615) 807-7900
        craig@griffithinjurylaw.com


        This, the 29th day of March, 2023.



                                                /s/ Nathan E. Shelby_____




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